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                      EXHIBIT A
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         Exemplary Chart for U.S. Patent No. 11.744.256^ for Defendant No.4 Bstars US,Seller

 The primary elements of claim 1 (copied fiilly below in the left column of the chart) are:
     •   Fuel Chamber Portion
     •   Conduit Portion
     •   Floor
     •   Channel
     • Aperture extends from channel through a wall of Conduit Portion

 There are no limitations in the claims for the size, shape, or orientation of the fuel chamber portion, conduit portion, wall in conduit
  portion, or aperture through a wall of the conduit portion, except that the conduit portion is disposed below the floor.

 The following diagram is an exemplary mock-up in cross-section ofthe type of defendant's smoker product design, with
  identification of the claim elements. Claims elements are also shown in the chart below using images of Defendant's product.




'Plaintiff provides this exemplary claim chart for the purposes of showing one basis of infringement of one of the claims of the
11,744,256 patent by Defendant's accused products as defined in the complaint. This exemplary claim chart addresses the Accused
Products broadly based on the fact that the Accused Products infringe in the same general way. Plaintiff reserves the right to amend
and fully provide its infringement arguments and evidence thereof until its Preliminary and Final Infringement Contentions are later
 produced according to the court's scheduling order in this case.
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                                                        Channel


                                                                                      Fuel Chamber


                                                                    /
                                                                    /
                                                                            ^            Portion


                                                                    /
                                                                    /                Conduit Portion
                                                        0     cv /  /

                                                                    X

                                                        \\\\\\\\\3 ^

                                                                        Aperture




                                                          Claim 1                                  •;
A device      The Amazon.com sellers page lists a product for sale under ASIN B0CJNXMHC2 is a "Cocktail Smoker Kit... with
              6 Flavors Wood Chips..." which is a device for imparting smoked flavors to beverages and foodstuffs.

smoked
flavors to
beverages
and
foodstuffs,
comorisin
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                                                               Cocktail Smoker Kit with Torch,6 Flavors Wood
                                                               Chips for Whiskey and Bourbon, Old Fashioned                                                One-Day
                                                               Smoker Kit for Infused Cocktail, Cheese, Salad                                      FREE Returns


                                                               and Meats, Gifts for Men, Dad and Boyfriend (No                                     FREE deUvtry Tomarrow,JuiM
                                                                                                                                                   S. Order within6 hrs 26 mins
                                                               Butane)
                                                                                                                                                      OelMerie UNPAC.Akiaodria
                                                               Brartd: Nisican
                                                                                                                                                      22301
                                                                                     117 ratings

                                                                Amazon^ cnoke ^ in Outdoor Smokers by Nuslcan
                                                               MO- bought In pen month



                                                               -40% *29®®

                                                                        One-Day
                                                               FREE Returns

                                                                Coupon:^         Apply 15* coupon Shop items.
                                                                                                           |  Terms
                                                                Rotam      Sm8% on 4 select Kem(s)promo code LXRE4CNS Terms

                                                               With Amazon Business, you would have saved $281.77 in the last year.Oeate a
                                                               free account and save up to 1S% today.
                                Roll over image to zoom in                                                                                         □ Add a gift receipt for easy
                                                                Extra Savings Save 8% on 3 vinct iiemls) promo CO ..   2 Applicable Promotlon(s|




                                                                                    1 Wood Chips       2 Pack
                                                                                    si»se              $»9e
                                                                                                                                                   Otftersellen on Amazon




a base     The "Cocktail Smoker" is a "base" unit that has a fuel chamber at the upper end that can hold wood chips:
having a
fuel
                                                          FILED UNDER SEAL



chamber
portion at
its upper                     fuel chamber portion
end and




a conduit    The Cocktail Smoker has an element protruding at the bottom ofthe base that is a conduit portion.
portion at
its lower
end,




                                                                             conduit portion
                                                                                                                 Case 1:24-cv-00958-MSN-LRV Document 1-1 Filed 06/04/24 Page 5 of 12 PageID# 25
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the fuel       The fuel chamber for the Cocktail Smoker has a wall. The wall defines a perimeter ofthe fuel chamber portion. The
chamber        fuel chamber for the Drink Smoker has a floor of the fuel chamber portion that extends from the wall to an opening in
portion        the floor.
comprising
an upper
wall
portion
defining a
perimeter
edge of the
fuel
chamber
                                     Opening
portion and
a floor
defining a
bottom end,
the floor                                upper wall
extending
from the
upper wall
portion to
an opening
in the floor
wherein the    The fuel chamber of the Cocktail Smoker is oriented to hold wood chips for burning. In the instructions on the
fuel           storefront page, the seller shows the consumer how to place the device on a glass and add wood chips in the fuel
chamber        chamber for burning with a torch.
portion is
oriented to
hold fuel,
and
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                                                         FILED UNDER SEAL




                         Cocktoilsmoker""




              =*repare thedrink and odd wood chips
wherein the The conduit portion ofthe Cocktail Smoker is oriented below the floor of the fuel chamber
conduit
portion is
disposed
below the
                                                                 fuel chamber
floor        I I floor
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                                                            FILED UNDER SEAL




                                                                         Conduit portion below floor of
                                                                         fuel chamber




and           The channel through the conduit of the Cocktail Smoker is shown on the seller's webstore.
comprises a


conduit
portion       W,                          1^ Channel




so that,      The conduit portion ofthe Cocktail Smoker has at least one hole, or aperture, in its wall that leads to the channel:
when the
fuel in the
fuel
               Case 1:24-cv-00958-MSN-LRV Document 1-1 Filed 06/04/24 Page 9 of 12 PageID# 29




chamber
portion is
ignited, the
channel
facilitates
flow of
smoke
downward
                                                     Aperture
from the
fuel
chamber
portion
through at
least one
aperture
that
extends
from the       The instructions demonstrate that when the fuel in the fuel chamber is ignited by a blow torch, the smoke from the
channel        ignited fuel flows down from the fuel chamber,through the channel, and out at least one aperture in the conduit into
space          the drinking glass.
through a
wall of the
conduit
 ortion
                          FILED UNDER SEAL




     cocktailsmoker ki
                                             Place wood chips
                                             fuel into chamber




=>repare thedrink and odd wood chips
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                                         Ignite the wood
                                         chips with
                                         a torch and create
         cocktailsmoker kit
                                         smoke




     Ignite the wood chips with the torch
                     FILED UNDER SEAL




                                        Smoke flows down,
Cocktailsniokerkit                      not up, through the
                                        channel in the conduit
                                        and out at least one
                                        aperture in the
                                        conduit




       Smoke the drink
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